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                                  4                                   UNITED STATES DISTRICT COURT

                                  5                                  NORTHERN DISTRICT OF CALIFORNIA

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                                  7      EPIC GAMES, INC.,                                   Case No. 20-cv-05640-YGR (TSH)
                                  8                     Plaintiff,
                                                                                             DISCOVERY ORDER
                                  9               v.
                                                                                             Re: Dkt. No. 1513
                                  10     APPLE INC.,
                                  11                    Defendant.

                                  12
Northern District of California
 United States District Court




                                  13          In light of the parties’ status report at ECF No. 1513, the Court VACATES the May 2,
                                  14   2025 discovery hearing. The parties’ next status report is due May 16, 2025. See ECF No. 1503.

                                  15   In that status report, the parties should state whether or not they request a further discovery
                                  16   hearing. As a reminder, in addition to the required May 16 status report, the parties are also under
                                  17   an order to file a notice when all filings arising out of the Special Masters’ work have been filed.

                                  18          IT IS SO ORDERED.
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                                  20   Dated: May 1, 2025

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                                                                                                     THOMAS S. HIXSON
                                  22                                                                 United States Magistrate Judge
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